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 4
     Attorney for Defendant
 5   FERNANDO LOPEZ AMARILLAS
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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                    Case No.:       CR.S-08-410 FCD
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                     Plaintiff,                   REQUEST FOR STATUS CONFERENCE        FOR
12                                                CHANGE OF COUNSEL; ORDER
          vs.
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     FERNANDO LOPEZ AMARILLAS,
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                                    Defendant.
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17
          Undersigned       counsel    requests    that     the   above-entitled    case   be
18
     added to the calendar for December 8, 2008, at 10:00 a.m. for the
19
     purpose    of    changing    defense     counsel    for   defendant   FERNANDO   LOPEZ
20
     AMARILLAS.       The request for a change of counsel is due to a breakdown
21
     in the attorney-client relationship.               I am the first appointed counsel
22
     for Mr. AMARILLAS.          I have called counsel for the United States, AUSA
23
     Rick Bender, and I left him a message informing him of our requested
24
     status conference for December 8, 2008, at 10:00 a.m.
25

26   DATED:           11/26/08        _____            /s/ C. Emmett Mahle
                                                       C. EMMETT MAHLE
27                                                     Attorney for Defendant
                                                       FERNANDO LOPEZ AMARILLAS
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 1                                       ORDER
 2

 3               GOOD CAUSE APPEARING, a Status Conference for the purpose
 4   of changing counsel will be added to the calendar on December 8, 2008,
 5   at 10:00 a.m.
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 7   Dated:   November 26, 2008        _______________________________________
                                       FRANK C. DAMRELL, JR.
 8
                                       UNITED STATES DISTRICT JUDGE
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